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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DOCTORS FOR AMERICA,

         Plaintiff,
          v.                                              Civil Action No. 25-322 (JDB)

 OFFICE OF PERSONNEL
 MANAGEMENT et al.,
         Defendants.


                                            ORDER

       Upon consideration of [6] Plaintiff’s motion for a temporary restraining order, [8]

Plaintiff’s supplemental declarations, [9] Defendants’ opposition, [10] Plaintiff’s reply, the

hearing on February 10, 2025, and the entire record herein, and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby ORDERED that

1. Defendants Department of Health and Human Services, Center for Disease Control, and Food

   and Drug Administration (hereinafter “defendants”) shall, by not later than 11:59 pm on

   February 11, 2025, restore to their versions as of January 30, 2025, each webpage and dataset

   identified by Plaintiff on pages 6–12 of its Memorandum of Law in Support of the Motion for

   a Restraining Order [ECF No. 6-1];

2. Defendants shall, in consultation with Plaintiff, identify any other resources that DFA members

   rely on to provide medical care and that defendants removed or substantially modified on or

   after January 29, 2025, without adequate notice or reasoned explanation; and defendants shall,

   by February 14, 2025, restore those resources to their versions as of January 30, 2025;




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3. The parties shall, by not later than 5:00 pm on February 13, 2025, submit a joint status report

   detailing their efforts to comply with the provisions of this Order and proposing a schedule for

   further proceedings in this case.

       SO ORDERED.

                                                                          /s/
                                                                   JOHN D. BATES
                                                             United States District Judge
Dated: February 11, 2025




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